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 1                              UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA
 2
                                      Fort Lauderdale Division
 3

 4                                                     )
      CHRISTOPHER XENOS,                               )   Case No.:
 5                                                     )
                     Plaintiff,                        )
 6                                                     )   COMPLAINT AND DEMAND
             v.                                        )   FOR JURY TRIAL
 7                                                     )
      DIVERSIFIED CONSULTANTS, INC.,                   )   (Unlawful Debt Collection Practices)
 8
                                                       )
 9
                       Defendant.                      )
                                                       )
10
                                                COMPLAINT
11
             CHRISTOPHER XENOS (“Plaintiff”), by and through his attorneys, KIMMEL &
12
      SILVERMAN, P.C., alleges the following against DIVERSIFIED CONSULTANTS, INC.
13
      (“Defendant”):
14

15
                                              INTRODUCTION

16            1.     Plaintiff’s Complaint is based on the Telephone Consumer Protection Act, 47

17    U.S.C. §227 et seq. (“TCPA”), the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C.

18    §1692 et seq. and the Florida Consumer Collection Practices Act, Florida Statute §559.55 et

19    seq. (“FCCPA”).
20
                                       JURISDICTION AND VENUE
21
              2.       Jurisdiction of this court arises pursuant to 15 U.S.C. §1692k(d), which states
22
      that such actions may be brought and heard before “any appropriate United States district court
23
      without regard to the amount in controversy,” and 28 U.S.C. §1331 grants this court original
24
      jurisdiction of all civil actions arising under the laws of the United States.
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               3.     Pursuant to 28 U.S.C. §1367(a), this Court has supplemental jurisdiction over
 1
      Plaintiff’s claims under the Florida Consumer Collection Practices Act, Fla. Stat. (“FCCPA”),
 2

 3    § 559.55, et seq., because those claims share a common nucleus of operative facts with

 4    Plaintiff’s claims under the TCPA. See LeBlanc v. Unifund CCR Partners, 601 F.3d 1185 (11th

 5    Cir. 2010).

 6             4.     Defendant conducts business in the State of Florida, and as such, personal
 7    jurisdiction is established.
 8
              5.     Venue is proper pursuant to 28 U.S.C. §§ 1391 (b)(1) and (b)(2).
 9
                                                       PARTIES
10
              6.     Plaintiff is a natural person residing in Tamarac, Florida 33321.
11
              7.     Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §1692 a(3).
12
              8.      Plaintiff is a “consumer” as defined by the FCCPA and is a person whom the act
13
      was intended to protect, FCCPA, Fla. Stat. § 559.55(8).
14
              9.      Defendant is a national debt collection company with its corporate headquarters
15

16    located at 10550 Deerwood Park Boulevard, Ste. 309, Jacksonville, Florida 32256.

17            10.     Defendant is a “debt collector” as that term is defined by 15 U.S.C. §1692a(6),

18    and sought to collect a debt from Plaintiff.

19            11.     Debt collection is the principal purpose of Defendant’s business.
20            12.     Defendant acted through its agents, employees, officers, members, directors,
21
      heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
22

23

24

25



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                                             FACTUAL ALLEGATIONS
 1
                 13.   Beginning in or about October of 2017 and continuing through in or about March
 2

 3    2018, Defendant called Plaintiff on his cellular telephone on a repeated and continuous basis,

 4    attempting to collect an alleged debt.

 5               14.   The alleged debt arose from a transaction that was primarily for personal, family,

 6    or household purposes.
 7               15.   During this time, Defendant used an automatic telephone dialing system,
 8
      automated message and/or prerecorded voice when contacting Plaintiff.
 9
                 16.   Plaintiff knew that Defendant was using an automatic telephone dialing system,
10
      automated message and/or prerecorded voice because when he answered calls he would wait
11
      during a noticeable silence or delay with no caller on the line before the call was transferred to a
12
      live representative or dropped.
13
                 17.   Defendant’s telephone calls were not made for “emergency purposes.”
14
                 18.   Plaintiff told Defendant to stop calling him soon after the calls began, in October
15

16    of 2017.

17               19.   Once Defendant was told to stop calling, its continued calls could have served no

18    lawful purpose besides harassment.

19               20.   Defendant persisted in calling Plaintiff’s cellular telephone repeatedly through
20    March 2019, including on occasion before 8:00 a.m. and after 9:00 p.m.
21
                 21.   Plaintiff knew that Defendant was calling him because he spoke to collectors
22
      who identified their company name as the Defendant’s during their conversations.
23
                 22.   Plaintiff found Defendant’s calls to be harassing, intrusive and distressing for the
24
      duration of this time period.
25



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              23.    Upon information and belief, Defendant conducts business in a manner which
 1
      violates the TCPA, FDCPA, and the FCCPA.
 2

 3

 4                                COUNT I
         DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT
 5
             24.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth
 6
      at length herein.
 7
             25.     Defendant initiated multiple automated telephone calls to Plaintiff’s cellular
 8

 9
      telephone number.

10           26.     Defendant initiated automated calls to Plaintiff using an automatic telephone

11    dialing system.

12           27.     Defendant’s calls were to Plaintiff were not made for “emergency purposes.”

13           28.     After Plaintiff told Defendant to stop calling, Defendant knew or should have
14
      known that it did not have consent to call and/or that any consent it thought it had was revoked.
15
             29.     Defendant’s acts as described above were done with malicious, intentional,
16
      willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the
17
      purpose of harassing Plaintiff.
18
             30.     The acts and/or omissions of Defendant were done unfairly, unlawfully,
19
      intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal
20
      defense, legal justification or legal excuse.
21

22           31.     As a result of the above violations of the TCPA, Plaintiff has suffered the losses

23    and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles

24    damages.

25



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                                          COUNT II
 1                        DEFENDANT VIOLATED § 1692c(a)(1) OF THE FDCPA
 2
              32.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth
 3
      at length herein.
 4
              33.     Section 1692c(a)(1) of the FDCPA forbids a debt collector from communicating
 5
      with a consumer in connection with the collection of any debt before 8:00 a.m. or after 9:00
 6
      p.m. local time at the consumer’s location unless it has knowledge of circumstances making
 7
      such communications at such times not inconvenient to Plaintiff.
 8

 9
              34.     Defendant violated Section 1692c(a)(1) of the FDCPA when within the one year

10    period preceding the filing of this Complaint, Defendant communicated with Plaintiff in

11    connection with the collection of a debt before 8:00 a.m. and/or after 9:00 p.m. local time at

12    Plaintiff’s location.

13

14
                                       COUNT III
15                  DEFENDANT VIOLATED §§ 1692d and 1692d(5) OF THE FDCPA

16            35.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth
17    at length herein.
18
              36.     Section 1692d of the FDCPA prohibits debt collectors from engaging in any
19
      conduct the natural consequence of which is to harass, oppress or abuse any person, in
20
      connection with the collection of a debt.
21
              37.     Section 1692d(5) of the FDCPA prohibits debt collectors from causing a
22
      telephone to ring or engaging any person in telephone conversation repeatedly or continuously
23
      with the intent to annoy, abuse or harass any person at the called number.
24

25
             38.      Defendant violated both sections of the FDCPA by calling Plaintiff on a repeated



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      basis within the one year period preceding the filing of this Complaint knowing at all times that
 1
      its calls were unwanted.
 2

 3

 4                                        COUNT IV
                                     DEFENDANT VIOLATED
 5                     THE FLORIDA CONSUMER COLLECTION PRACTICES ACT

 6           39.        Plaintiff incorporates the foregoing paragraphs as though the same were set forth
 7    at length herein.
 8
                 40.    Any person attempting to collect a consumer debt violate § 559.72(7) by
 9
      willfully communicating with the debt with such frequency as can reasonably be expected to
10
      harass the debtor or willfully engaging in other conduct which can be reasonable excepted to
11
      abuse or harass, the debtor, such as causing a telephone to ring or engaging any person in
12
      telephone conversation repeatedly or continuously with intent to annoy, abuse, or harass.
13
                 41.    Defendant violated § 559.72(7) when it called Plaintiff repeatedly to collect an
14
      alleged cellular telephone debt and continued to call Plaintiff despite being informed that
15

16    Plaintiff did not want to be contacted.

17

18           WHEREFORE, Plaintiff, CHRISTOPHER XENOS, respectfully prays for judgment as

19    follows:
20                      a. All actual damages suffered by Plaintiff pursuant to 15 U.S.C. §1692k)(a)(1);
21
                        b. Statutory damages of $1,000.00 for the violation of the FDCPA pursuant to
22
                           15 U.S.C. §1692 (k)(a)(2)(A);
23
                        c. All reasonable attorneys’ fees, witness fees, court courts and other litigation
24
                           expenses incurred by Plaintiff pursuant to 15 U.S.C. §1693 (k)(a)(3);
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                       d. Actual damages suffered pursuant to 47 U.S.C. § 227(b)(3)(A);
 1
                       e. Statutory damages of $500.00 per violative telephone call pursuant to 47
 2

 3                        U.S.C. § 227(b)(3)(B);

 4                     f. Treble damages of $1,500.00 per violative telephone call pursuant to 47

 5                        U.S.C. §227(b)(3); and

 6                     g. Injunctive relief pursuant to 47 U.S.C. § 227(b)(3);
 7                     h. Statutory damages of $1,000.00 pursuant to Florida Consumer Collection
 8
                          Practices Act, Fla. Stat. §559.77;
 9
                       i. Costs and reasonable attorneys’ fees pursuant to Florida Consumer
10
                          Collection Practices Act, Fla. Stat. §559.77; and
11
                       j. Any other relief deemed appropriate by this Honorable Court.
12

13
                                       DEMAND FOR JURY TRIAL
14
              PLEASE TAKE NOTICE that Plaintiff, CHRISTOPHER XENOS, demands a jury trial
15

16    in this case.

17

18                                                  Respectfully submitted,

19

20    Dated: 2/28/19                                 By: /s/ Amy L. Bennecoff Ginsburg
                                                     Amy L. Bennecoff Ginsburg, Esq.
21
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